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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
                                  Case No. 9:21-CV-80758-DMM

  PNC BANK, NATIONAL ASSOCIATION,
  SUCCESSOR BY MERGER TO NATIONAL
  CITY BANK, SUCCESSOR BY MERGER
  TO FIDELITY FEDERAL BANK & TRUST,

           Plaintiff,

  v.

  LILIA BELKOVA A/K/A LILIA BELKOVA
  RUSSO, individually; LILIA BELKOVA, AS
  SUCCESSOR TRUSTEE OF THE LAND
  TRUST AGREEMENT NO. 072003 DATED
  FEBRUARY 9, 2004; et. al.,

           Defendants,
                                                  /

                    DEFENDANT LILIA BELKOVA’S RESPONSE TO
         PLAINTIFF’S AMENDED MOTION FOR FINAL SUMMARY JUDGMENT AND
                       INCORPORATED MEMORANDUM OF LAW

           Defendant LILIA BELKOVA, individually (“Belkova”) and as representative of the Land

  Trust Agreement No. 072003 Dated February 9, 2004 (“Trust”), by and through undersigned

  counsel, Respond to Plaintiff’s Amended Motion for Final Summary Judgment and Incorporated

  Memorandum of Law filed by PNC Bank, National Association, as successor by merger to National

  City Bank, successor by merger to Fidelity Bank & Trust [D.E. 71] (“Plaintiff”, and states as follows:

           1.      As what appears to be a matter of first impression, the subject property in the instant

  matter was to be titled from inception in a Florida Land Trust – however what resulted was a failed

  and ultimately a nonexistent land trust that was ineffective and void for failing to comply with the

  Florida Land Trust Act, §689.71, et. seq.




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           2.     The Plaintiff in the instant action wishes the Court to simply disregard the

  requirements under Florida Statute that has ultimately resulted in Belkova and Trust being the

  incorrect parties to this action.

           3.     Despite any legal statements by the Defendants, in any capacity, from the outset,

  the intent of non-parties, in 2004 James Sobosienski, Joseph Hanratty and Anisa Nazarova

  (“Nazarova”) was always to create a land trust to vest title for the benefit of Nazarova, who was

  the financier of the acquisition of the subject property and the intended owner of the entire

  beneficial interest.

           4.     The non-parties attempted to create a Florida Land Trust, based on the Florida Land

  Trust Act that is modeled after the Illinois Land Trust Act. However, no valid land trust was

  created, therefore all subsequent conveyances and assignments by the nonexistent land trust were

  ineffective and void for failing to comply with the Florida Land Trust Act.

           5.     Any transfer under an Illinois land trust must be in writing. A trustee agrees to deal

  with the res of the trust only upon written direction of the beneficiaries. The trustee is not required

  to inquire into the propriety of any direction received from the authorized persons. Brigham v.

  Brigham, 11 So. 3d 374, 376 (Fla. 3d DCA 2009).

           6.     For the recorded instrument to create a Florida Land Trust, the deed must state the

  following pursuant to Fla. Stat. §689.071(1) (2004):

                  (1) Every conveyance, deed, mortgage, lease assignment, or other
                  instrument heretofore or hereafter made, hereinafter referred to as "the
                  recorded instrument," transferring any interest in real property in this state,
                  . . . is designated "trustee," or "as trustee," without therein naming the
                  beneficiaries of such trust, whether or not reference is made in the recorded
                  instrument to any separate collateral unrecorded declarations or agreements
                  is effective to vest, and is hereby declared to have vested, in such trustee
                  full rights of ownership over the real property or interest therein, with full
                  power and authority as granted and provided in the recorded instrument to
                  deal in and with the property or interest therein or any part thereof;



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                  provided, the recorded instrument confers on the trustee the power and
                  authority either to protect, conserve and to sell, or to lease, or to encumber,
                  or otherwise to manage and dispose of the real property described in the
                  recorded instrument.

           7.     The Deed from inception in the instant matter failed to contain the required

  language, and therefore failed to create a Florida Land Trust. Id.

           8.     Even had a valid Florida Land Trust been created, by definition the Trustee of such

  a Trust could only act at the written direction of the beneficiary (Nazarova). None of this ever

  occurred, therefore either there was no Land Trust or there was no authority for the Trustee to act,

  despite the legal positions that Belkova may have taken during her bankruptcy cases.

           9.     Accordingly, each and every subsequent transfer or assignment of the property

  failed because of the defects and failure to establish a proper land trust.

                                            CONCLUSION

           Based on the foregoing, Defendants respectfully requests that the Plaintiff’s Amended Motion

  for Summary Judgment be denied in its entirety. There are disputed issues of material fact that should

  be resolved only by a trier of fact.

  Dated: December 21, 2021                       Respectfully submitted,

                                                 LAW OFFICE OF ADAM I. SKOLNIK, P.A.


                                                       /s/ Adam I. Skolnik
                                                 ADAM I. SKOLNIK
                                                 FLORIDA BAR NO. 728081
                                                 ATTORNEY FOR LILIA BELKOVA, individually and
                                                              as representative of THE LAND
                                                              TRUST AGREEMENT NO. 072003
                                                              DATED FEBRUARY 9, 2004
                                                 1761 WEST HILLSBORO BOULEVARD, SUITE 201
                                                 DEERFIELD BEACH, FLORIDA 33442
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 21, 2021, the foregoing document was filed with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record registered to receive electronic Notices of Electronic Filing

  generated by CM/ECF.

                                               /s/ Adam I. Skolnik
                                             ADAM I. SKOLNIK

  VIA CM/ECF

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  Counsel for Defendant, Deer Run Property Owners Association, Inc.




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